                                                                                                              Rev. 12/01/19


                                       LOCAL BANKRUPTCY FORM 3015-1

                               IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                                             CHAPTER 13
Harrisingh, Shariffe O
                                                                   CASE NO.

                                                                    ✔     ORIGINAL PLAN
                                                                          AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)

                                                                     0    Number of Motions to Avoid Liens
                                                                     0    Number of Motions to Value Collateral

                                                   CHAPTER 13 PLAN

                                                          NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If
an item is checked as “Not Included” or if both boxes are checked or if neither box is checked, the provision will
be ineffective if set out later in the plan.


 1   The plan contains nonstandard provisions, set out in § 9, which are not included in     Included          Not
     the standard plan as approved by the U.S. Bankruptcy Court for the Middle District                        Included
     of Pennsylvania.

 2   The plan contains a limit on the amount of a secured claim, set out in § 2.E, which     Included          Not
     may result in a partial payment or no payment at all to the secured creditor.                             Included

 3   The plan avoids a judicial lien or nonpossessory, nonpurchasemoney security             Included          Not
     interest, set out in § 2.G.                                                                               Included


                                          YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely written objection.
This plan may be confirmed and become binding on you without further notice or hearing unless a written
objection is filed before the deadline stated on the Notice issued in connection with the filing of the plan.

1. PLAN FUNDING AND LENGTH OF PLAN.

     A. Plan Payments From Future Income

              1. To date, the Debtor paid $         0.00      (enter $0 if no payments have been made to the
                 Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the following
                 payments. If applicable, in addition to monthly plan payments, Debtor shall make conduit
                 payments through the Trustee as set forth below. The total base plan is $       9,000.00      , plus
                 other payments and property stated in § 1B below:




                                                               1



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                                                                                                       Total
                                                             Estimated            Total
    Start            End                  Plan                                                       Payment
                                                              Conduit            Monthly
   mm/yyyy          mm/yyyy             Payment                                                      Over Plan
                                                             Payment             Payment
                                                                                                       Tier

   05/2024          04/2029                   $150.00                $0.00             $150.00            $9,000.00

                                                                                        Total
                                                                                                          $9,000.00
                                                                                    Payments:


         2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that
            a different payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in
            writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-petition
            mortgage payments that come due before the initiation of conduit mortgage payments.

         3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the
            terms of the plan.

         4. CHECK ONE: (       ) Debtor is at or under median income. If this line is checked, the rest of §
            1.A.4 need not be completed or reproduced.

                              (     ) Debtor is over median income. Debtor estimates that a minimum of
                              $        0.00        must be paid to allowed unsecured creditors in order to comply
                              with the Means Test.

  B. Additional Plan Funding From Liquidation of Assets/Other

               1. The Debtor estimates that the liquidation value of this estate is $      0.00       .
                  (Liquidation value is calculated as the value of all nonexempt assets after the deduction of
                  valid liens and encumbrances and before the deduction of Trustee fees and priority
                  claims.)

     Check one of the following two lines.

             No assets will be liquidated. If this line is checked, skip § 1.B.2 and complete § 1.B.3 if applicable.

             Certain assets will be liquidated as follows:

               2. In addition to the above specified plan payments, Debtor shall dedicate to the plan
                  proceeds in the estimated amount of $                        from the sale of property known
                  and designated as                       All sales shall be completed by                   , 20
                         . If the property does not sell by the date specified, then the disposition of the
                  property shall be as follows:

               3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as
                  follows:

2. SECURED CLAIMS.

  A. Pre-Confirmation Distributions. Check one.




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  ✔ None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.
  ❑
  B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct
     Payments by Debtor. Check one.


  ❑ None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.
  ✔ Payments will be made by the Debtor directly to the creditor according to the original contract terms, and
  ❑
      without modification of those terms unless otherwise agreed to by the contracting parties. All liens survive
      the plan if not avoided or paid in full under the plan.


                                                                                             Last Four Digits
      Name of Creditor                          Description of Collateral                      of Account
                                                                                                 Number

ROUNDPOINT MORTGAGE              64 Briarleigh Drive East Stroudsburg, PA 18301-8057               8029

  C. Arrears (Including, but not limited to, claims secured by Debtor’s principal residence). Check one.

  ✔ None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.
  ❑
  D. Other secured claims (conduit payments and claims for which a § 506 valuation is not applicable,
     etc.)

  ✔ None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.
  ❑
  E. Secured claims for which a § 506 valuation is applicable. Check one.

  ✔ None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.
  ❑
  F. Surrender of Collateral. Check one.

  ✔ None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.
  ❑
  G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.

  ✔ None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.
  ❑
3. PRIORITY CLAIMS.

  A. Administrative Claims

       1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United
          States Trustee.

       2. Attorney’s fees. Complete only one of the following options:




                                                       3


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            a. In addition to the retainer of $     1,200.00     already paid by the Debtor, the amount of
               $     3,300.00       in the plan. This represents the unpaid balance of the presumptively
               reasonable fee specified in L.B.R. 2016-2(c); or

            b. $                   per hour, with the hourly rate to be adjusted in accordance with the terms of
               the written fee agreement between the Debtor and the attorney. Payment of such lodestar
               compensation shall require a separate fee application with the compensation approved by the
               Court pursuant to L.B.R. 2016-2(b).

        3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above. Check one of the
                  following two lines.

            ✔ None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.
            ❑
   B. Priority Claims (including, certain Domestic Support Obligations

       Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full unless modified under §9.


                      Name of Creditor                                    Estimated Total Payment

Pennsylvania Dept of Revenue                                                                               $583.00

NYS Tax Department                                                                                       $2,225.63

   C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C.
      §507(a)(1)(B). Check one of the following two lines.

       ✔ None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.
       ❑
4. UNSECURED CLAIMS

   A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the following two
      lines.

       ✔ None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.
       ❑
   B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after
      payment of other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.

   ❑ None. If “None” is checked, the rest of § 5 need not be completed or reproduced.
   ✔ The following contracts and leases are assumed (and arrears in the allowed claim to be cured in the plan)
   ❑
       or rejected:




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                                   Description of                                                   Total
      Name of Other                                        Monthly       Interest   Estimated                    Assume
                                    Contract or                                                      Plan
         Party                                             Payment         Rate      Arrears                     or Reject
                                      Lease                                                        Payment

                             Auto Lease - Automobile
 GM FINANCIAL                                                 $695.00      0.00%                        $0.00     Assume
                             Lease

6. VESTING OF PROPERTY OF THE ESTATE.

    Property of the estate will vest in the Debtor upon

    Check the applicable line:

        plan confirmation.
        entry of discharge.
        closing of case.

7. DISCHARGE: (Check one)

        The debtor will seek a discharge pursuant to § 1328(a).
        The debtor is not eligible for a discharge because the debtor has previously received a discharge
        described in § 1328(f).

8. ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat
the claim as allowed, subject to objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels are not
filled-in, then the order of distribution of plan payments will be determined by the Trustee using the following as a
guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.



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Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed
elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as one document, not as
a plan and exhibit.)

Dated:    04/04/2024                                       /s/ Kim M Diddio
                                              Attorney for Debtor

                                                        /s/ Shariffe O Harrisingh
                                              Debtor



                                              Joint Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also certifies that
this plan contains no nonstandard provisions other than those set out in § 9.




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